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Case 2:19-mj-00986-DUTY   Document
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
                                Document  99 03/12/19  Page 182
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
                                Document  99 03/12/19  Page 183
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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                                                                          228 ID #:189
Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
                                Document  99 03/12/19  Page 187
                                              Filed 03/20/19    of 205
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
                                Document  99 03/12/19  Page 188
                                              Filed 03/20/19    of 205
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                                                                          228 ID #:191
Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
                                Document  99 03/12/19  Page 189
                                              Filed 03/20/19    of 205
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                                                                          228 ID #:192
Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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Case 2:19-mj-00986-DUTY   Document
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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Case 2:19-mj-00986-DUTY   Document
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Case 2:19-mj-00986-DUTY   Document
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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                                              Filed 03/20/19    of 205
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                                                                          228 ID #:198
Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
                                Document  99 03/12/19  Page 196
                                              Filed 03/20/19    of 205
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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                                                                          228 ID #:200
Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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                                                                          228 ID #:201
Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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                                                                          228 ID #:202
Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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Case 2:19-mj-00986-DUTY   Document
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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                                              Filed 03/20/19    of 205
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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                                              Filed 03/20/19    of 205
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Case 2:19-mj-00986-DUTY   Document
        Case 1:19-mj-06087-MPK     3-1 Filed
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                                              Filed 03/20/19    of 205
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Case Case
     2:19-mj-00986-DUTY  Document
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                                                                Page   ID #:209
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Case Case
     2:19-mj-00986-DUTY  Document
          1:19-mj-06087-MPK       4 Filed
                            Document 99 03/12/19    Page Page
                                          Filed 03/20/19 2 of 5213
                                                                Page   ID #:210
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Case Case
     2:19-mj-00986-DUTY  Document
          1:19-mj-06087-MPK       4 Filed
                            Document 99 03/12/19    Page Page
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Case Case
     2:19-mj-00986-DUTY  Document
          1:19-mj-06087-MPK       4 Filed
                            Document 99 03/12/19    Page Page
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Case Case
     2:19-mj-00986-DUTY  Document
          1:19-mj-06087-MPK       4 Filed
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                                                                Page   ID #:213
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Case Case
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Case Case
     2:19-mj-00986-DUTY  Document
          1:19-mj-06087-MPK       5 Filed
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Case Case
     2:19-mj-00986-DUTY  Document
          1:19-mj-06087-MPK       6 Filed
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Case Case
     2:19-mj-00986-DUTY  Document
          1:19-mj-06087-MPK       7 Filed
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Case Case
     2:19-mj-00986-DUTY  Document
          1:19-mj-06087-MPK       8 Filed
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Case 2:19-mj-00986-DUTY  Document
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          Case 2:19-mj-00986-DUTY  Document
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                                                                            Page  ID #:221
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 Name and address:
 KELLER/ANDERLE LLP
 Jennifer L. Keller (SBN 84412)
 18300 Von Karman Avenue, Suite 930
 Irvine, California 92612




                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                      CASE NUMBER:

                                                                               2:19-mj-00986-DUTY-1
                                               PLAINTIFF(S)
                             v.

I-HSIN "JOEY" CHEN                                                       REQUEST FOR APPROVAL OF
                                                                       SUBSTITUTION OR WITHDRAWAL
                                             DEFENDANT(S)                       OF COUNSEL

                                                  INSTRUCTIONS
Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).
Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).
If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.
SECTION I - WITHDRAWING ATTORNEY
Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Marshall A. Camp                                                         CA Bar Number: 231389
Firm or agency: Hueston Hennigan LLP

Address: 523 West 6th Street, Suite 400, Los Angeles, CA 90014

Telephone Number: (213) 788-4340                                 Fax Number:    N/A
E-mail: mcamp@hueston.com
Counsel of record for the following party or parties: I-Hsin “Joey” Chen




Other members of the same firm or agency also seeking to withdraw:



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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA                                             CASE NUMBER:
                                                                                     2:19-mj-00986-DUTY-1
                                                       Plaintiff(s)
                                 v.

 I-HSIN "JOEY" CHEN                                                      (PROPOSED) ORDER ON REQUEST FOR
                                                                           APPROVAL OF SUBSTITUTION OR
                                                     Defendant(s).
                                                                             WITHDRAWAL OF ATTORNEY


        The Court hereby orders that the request of:

        I-Hsin “Joey” Chen                             ‫܆‬Plaintiff       ‫ ܈‬Defendant      ‫܆‬Other
                Name of Party

to substitute                             Jennifer L. Keller                                              who is

        ‫ ܈‬Retained Counsel                ‫ ܆‬Counsel appointed by the Court (Criminal cases only)                  ‫ ܆‬Pro Se

            Keller/Anderle LLP, 18300 Von Karman Avenue, Suite 930, Irvine, California 92612
                                                               Street Address


        Irvine, California 92612                                                        jkeller@kelleranderle.com
                           City, State, Zip                                                              E-Mail Address


(949) 476-8700                                       (949) 476-0900                                               84412
        Telephone Number                                       Fax Number                                State Bar Number


as attorney of record instead of                     Marshall A. Camp
                                                List all attorneys from same firm or agency who are withdrawing




is hereby       ‫ ܆‬GRANTED                     ‫ ܆‬DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this
case.

        Dated
                                                                        U. S. District Judge/U.S. Magistrate Judge

G-01 ORDER (09/17)(PROPOSED) ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
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                                                                            Page  ID #:225
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 Name and address:
 KELLER/ANDERLE LLP
 Chase A. Scolnick (SBN 227631)
 18300 Von Karman Avenue, Suite 930
 Irvine, California 92612




                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                          CASE NUMBER:

                                                                                 2:19-NK-00986-%65:1
                                                   PLAINTIFF(S)
                               v.

I-HSIN "JOEY" CHEN
                                                                               NOTICE OF APPEARANCE OR
                                                                               WITHDRAWAL OF COUNSEL
                                                 DEFENDANT(S)

                                                      INSTRUCTIONS
Appearance of Counsel:
Attorneys may use this form to enter an appearance in a case, or to update the docket of a case to reflect a prior
appearance. To do so, complete Sections I, II, and IV of this form, then file and serve the form in the case. (Using an
attorney's CM/ECF login and password to file this form will expedite the addition of that attorney to the docket as counsel
of record.)
Withdrawal of Counsel:
This form may be used to terminate an attorney's status as counsel of record for a party in three situations: (1) the
attorney being terminated has already been relieved by the Court, but the docket does not yet reflect that fact; (2) at least
one member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member of the Bar of this Court representing that party; or (3) the represented party has been dismissed from the
case, but the attorneys are still receiving notices of electronic filing. For any of these situations, complete Sections I, III,
and IV of this form, then file and serve the form in the case.
Note: In situations not covered above, attorneys seeking to withdraw from a case must first obtain permission from the
Court. In such circumstances, attorneys should complete and file a "Request for Approval of Substitution or Withdrawal of
Counsel" (Form G-01) rather than this "Notice of Appearance or Withdrawal of Counsel" (Form G-123). See Form G-01 for
further information.
SECTION I - IDENTIFYING INFORMATION
Please complete the following information for the attorney you wish to add or remove (if removing an attorney, provide the
information as it currently appears on the docket; if appearing pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: Chase A. Scolnick                                                            CA Bar Number: 227631
Firm or agency: Keller/Anderle LLP
Address: 18300 Von Karman Avenue, Suite 930, Irvine, California 92612

Telephone Number: (949) 476-8700                                    Fax Number:      (949) 476-8700
Email: cscolnick@kelleranderle.com
Counsel of record for the following party or parties: I-Hsin Chen




G-123 (9/17)                          NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL                                     Page 1 of 2
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SECTION II - TO ADD AN ATTORNEY TO THE DOCKET
Please select one of the following options:
        The attorney listed above has already appeared as counsel of record in this case and should have been added to the
        docket. The date of the attorney's first appearance in this case:                           .
        The filing of this form constitutes the first appearance in this case of the attorney listed above. Other members of
        this attorney's firm or agency have previously appeared in the case.
        The filing of this form constitutes the first appearance in this case of the attorney listed above. No other members
        of this attorney's firm or agency have previously appeared in the case.
        By order of the court dated _____________________ in case number ________________________ (see attached
        copy), the attorney listed above may appear in this case without applying for admission to practice pro hac vice.
        This case was transferred to this district by the Judicial Panel on Multidistrict Litigation ("JPML") pursuant to 28
        U.S.C. § 1407 from the _______________ District of ____________________, where it was assigned case number
        ____________________. The attorney listed above is counsel of record in this case in the transferee district, and is
        permitted by the rules of the JPML to continue to represent his or her client in this district without applying for
        admission to practice pro hac vice and without the appointment of local counsel.
        On ______________________, the attorney listed above was granted permission to appear in this case pro hac vice
        before the Bankruptcy Court, and L.Bankr.R. 8 authorizes the continuation of that representation in this case before
        the District Court.
In addition, if this is a criminal case, please check the applicable box below. The attorney listed above is:
               USAO     FPDO        CJA Appointment          Pro Bono        Retained


SECTION III - TO REMOVE AN ATTORNEY FROM THE DOCKET
Notices of Electronic Filing will be terminated. Please select one of the following options:

        The attorney named above has already been relieved by the Court as counsel of record in this case and should
        have been removed from the docket. Date of the order relieving this attorney:                                .

        Please remove the attorney named above from the docket of this case; at least one member of the firm or agency
        named above, and at least one member of the Bar of this Court, will continue to serve as counsel of record for the
        party or parties indicated.
        (Note: if you are removing yourself from the docket of this case as a result of separating from a firm or agency, you
        should consult Local Rules 5-4.8.1 and 83-2.4 and Form G-06 (“Notice of Change of Attorney Business or Contact
        Information”), concerning your obligations to notify the Clerk and parties of changes in your business or contact
        information.)
        The represented party has been dismissed from the case, but the attorneys are still receiving notices of electronic
        filing. Date party was dismissed:                              .

        The attorney named above was appointed on appeal and the appeal has been adjudicated. Date the mandate was
        filed:                           .

SECTION IV - SIGNATURE

I request that the Clerk update the docket as indicated above.


      Date: March 18, 2019                             Signature:

                                                       Name:        Chase A. Scolnick

G-123 (9/17)                           NOTICE OF APPEARANCE OR WITHDRAWAL OF COUNSEL                                   Page 2 of 2
